 

Case 1:17-cv-01614-MCW Document 5 Filed 11/03/17 Page 1 of saann use
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U.S. COURT OF

In the United States Court of Federal Clatins crams

No. 17-1614C
(Filed: November 3, 2017)

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ROBERT R. HOLLOWAY, ITI, *
+

Plaintiff, *

*

Vv. +e

*

THE UNITED STATES, *
#

Defendant. *

*
ee

 

ORDER OF DISMISSAL

 

On October 23, 2017, pro se Plaintiff Robert R. Holloway, Il, filed a complaint in this
Court. Plaintiffs complaint, which uses the caption for the United States District Court for the
Central District of North Carolina, includes four separate complaints styled as “Magnum XL, Inc
y. Harley-Davidson of Greensboro, DBA Harley-Davidson, Robert R Holloway, III v. East
Orlando-Harley Davidson, Orlando Harley Davidson, Orlando Harley-Davidson Gear Store,
Orlando Harley Davidson at Disney Springs, Orlando Harley-Davidson South, Orlando Harley
Davidson, Robert R Holloway, I] v. Grand Canyon Harley-Davidson Shop, Whiskey Row Harley-
Davidson, Sedona Harley-Davidson, Grand Canyon Harley-Davidson, and Robert R Holloway, Il
y. Iron-Valley Harley-Davidson, Harley-Davidson of Chester Springs, White’s Harley-
Davidson.”! .

The only proper defendant in this Court is the United States. United States v. Sherwood,
312 U.S. 584, 588 (1941); Berdick v. United States, 612 F.2d 533, 536 (Ct. Cl. 1979). As Plaintiff
has named various locations of Harley Davidson, not the United States, as the Defendant in this
action, this Court does not have jurisdiction over Plaintiffs claims. In addition, Magnum XL, Inc.
is not a natural person and must be represented by counsel. Mr. Robert Holloway filed the
complaint on behalf of Magnum XL, Inc. and does not identify himself as an attorney. Rule 41(b)

 

1 Plaintiff filed an identical complaint, under the caption Magnum XL, Inc. v. Harley-

Davidson of Greensboro, DBA Harley-Davidson, on July 5, 2017, which this Court dismissed on
July 7, 2017.

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allows the Court to dismiss a case if the plaintiff fails to comply with the Court’s rules. RCFC
Al(b).

The Clerk is directed to dismiss Plaintiff's complaint. Plaintiffs motion to proceed in
forma pauperis is denied as moot.

MARY ELLEN COSTER WILLIAMS
Judge

 

 
